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                        UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                             Case No. 4:11-cr-00198-BLW
        Plaintiff,
                                             MEMORANDUM DECISION
         v.                                  AND ORDER

  WAYNE ALLEN GINNIS,

        Defendant.



                                INTRODUCTION

      Before the Court is Defendant Wayne Allen Ginnis’s pro se Request for

Early Termination of Supervision (Dkt. 72). For the reasons explained below, the

Court will deny the motion without prejudice.

                                  DISCUSSION
      In June 2012, Mr. Ginnis pleaded guilty to Travel with Intent to Engage in

Illicit Sexual Contact, in violation of 18 U.S.C. § 2423(b). See Dkt. 44, 49. He was

sentenced to 70 months’ incarceration, to be followed by 10 years of supervised

release. See Dkt. 69.

      On October 12, 2021, Mr. Ginnis filed a request for early termination of

supervision. The next day, the Court issued an arrest warrant for him to appear




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before the Court to answer for alleged violations of the terms of his supervised

release. See Dkt. 74.

      Under these circumstances, the Court will deny, without prejudice, Mr.

Ginnis’ request for early release from supervision. The Court prefers to resolve the

various alleged violations on supervision before handling the request for early

termination of supervision. Mr. Ginnis may renew his request after the Court

resolves the pending Petition on Supervised Release.

                                     ORDER
      IT IS ORDERED that Defendant’s Request for Request for Early

Termination of Supervision (Dkt. 71) is DENIED WITHOUT PREJUDICE.

                                             DATED: December 2, 2021


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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